Case: 2:05-cv-00976-ALM-TPK Doc #: 178 Filed: 08/24/10 Page: 1 of 6 PAGEID #: 4049




                            IN THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

KEVIN H. MCKENNA,                   :
                                    :     CASE NO. C2 05 976
            Plaintiff,              :
                                    :
      v.                            :     JUDGE MARBLEY
                                    :
NESTLÉ PURINA PETCARE CO.,          :
                                    :     MAGISTRATE JUDGE KEMP
            Defendant.              :
_____________________________________________________________________________


     NESTLÉ PURINA PETCARE COMPANY’S MEMORANDUM IN OPPOSITION TO
           KEVIN MCKENNA’S MOTION FOR RELIEF FROM JUDGMENT

I.       INTRODUCTION

         Kevin McKenna (hereinafter “McKenna”) is once again before this Court. On March 31,

2009, this Court granted Nestlé Purina PetCare Company’s (hereinafter “Nestlé”) Motion for

Summary Judgment. McKenna appealed this Order and the United States Court of Appeals for

the Sixth Circuit affirmed this Court’s ruling. The same arguments raised in McKenna’s current

Motion were raised in McKenna’s appellate briefs.

II.      LAW AND ARGUMENT

         A.        McKenna Has Not Met His Burden.

         McKenna requests relief from judgment and therefore “bears the burden of establishing

the grounds for such relief by clear and convincing evidence.” Info-Hold, Inc. v. Sound Merch.,

Inc., 538 F.3d 448, 454 (6th Cir. 2008). In order to establish fraud on the court, McKenna must

establish conduct (1) on the part of an officer of the court; (2) that is directed to the judicial

machinery itself; (3) is intentionally false, willfully blind to the truth, or is in reckless disregard

for the truth; (4) is a positive averment or concealment when one is under a duty to disclose; and,



916412 v_01 \ 122885.0002                         1
Case: 2:05-cv-00976-ALM-TPK Doc #: 178 Filed: 08/24/10 Page: 2 of 6 PAGEID #: 4050




(5) deceives the court. Demjanjuk v. Petrovsky, 10 F.3d 338, 348 (6th Cir. 1993). McKenna

argues that Nestlé’s Counsel falsely stated that Ms. Nancy Goss’s (hereinafter “Goss”) animus

towards McKenna was not based on his status as a male but based on their prior relationship.

Motion, p. 4 (Doc. #176). McKenna fails to demonstrate how this statement was false, willfully

blind to the truth, or in reckless disregard for the truth. Further, McKenna fails to acknowledge

that the arguments proffered by Nestlé’s Counsel were supported by Goss’s testimony.

         McKenna’s Attachment A to his Motion accuses Nestlé of committing fraud by referring

to McKenna’s relationship with Goss as a “romantic relationship.”           McKenna’s argument

borders on comical considering McKenna himself referred to the relationship as “consensual,

sexual/erotic natured, up and down, on and off again…” and as a “sex/sexually oriented work

relationship…” McKenna’s App. Brief, Case No. 09-3400, p. 10 and p. 26, attached hereto as

Exhibit A. This is classic McKenna hairsplitting and similar to arguments this Court previously

overruled. See Opinion and Order, p. 11 (Doc. #168).

         McKenna’s Attachment A asserts his relationship with Goss was mischaracterized by

Nestlé. McKenna takes great pains to state he never had sexual intercourse with Goss, but does

not deny the other sexual acts Goss testified occurred. See Attachment A to McKenna’s Motion

(Doc. #176), p.5, Goss Depo. Tr. P. 21, ll. 12-17; Attachment A, p. 9, Goss Depo. Tr. P. 34, ll. 2-

7. In short, McKenna admits he engaged in a relationship with Goss that went beyond the

bounds of friendship and admits he engaged in sexual acts with Goss but complains Nestlé

committed fraud by referring to his relationship with Goss as sexual or romantic relationship.

McKenna again fails to demonstrate how the statements made by Nestlé were false, willfully

blind to the truth, or in reckless disregard for the truth.




916412 v_01 \ 122885.0002                           2
Case: 2:05-cv-00976-ALM-TPK Doc #: 178 Filed: 08/24/10 Page: 3 of 6 PAGEID #: 4051




         McKenna is simply not happy with the outcome of this case, but that is not grounds for

providing relief from judgment. “Rule 60(b) does not afford defeated litigants a second chance

to convince the court to rule in his or her favor by presenting new explanation, new legal

theories, or proof.” Yeschick v. Mineta, 2010 WL 2774310, *1 (N.D. Ohio 2010), citing Jinks v.

AlliedSignal, Inc., 250 F.3d 381, 385 (6th Cir. 2001). McKenna’s Motion advances little in the

way of argument. Instead, McKenna generally asserts that “Nestle’s Legal Counsel have been

engaging in fraud, omission, subornation of fraud, perjury and evidence tampering…” Motion p.

2 (Doc. #176). Instead of supporting these accusations, McKenna simply states, “The exact

manner and context of each instance in which the issue of perjury has been previously raised

before this Court in one form or another, cannot be concisely articulated for purposes of the

motion, or for this court.” Id. [emphasis in original]. In short, McKenna has no support for his

accusations.

         B.        The Law Of The Case Doctrine Bars McKenna’s Arguments.

         There can be no legitimate purpose for McKenna’s Motion when the entry of judgment

McKenna seeks to set aside was affirmed by the Sixth Circuit. This is now the law of the case

and cannot be set aside. The law-of-the-case doctrine states that “when a court decides upon a

rule of law, that decision should continue to govern the same issues in subsequent stages of the

same case.” Moses v. Business Card Express, Inc., 929 F. Supp.2d 1131, 1137 (6th Cir. 1991);

see also Rouse v. DaimlerChrysler Corp. UAW, 300 F.3d 711, 715 (6th Cir. 2002)(“Under the

law-of-the-case doctrine, findings made at one point in litigation become the law of the case for

subsequent stages of that same litigation.”).       This doctrine limits re-litigation of an issue

previously decided. Limited Brands, Inc. v. F.C. (Flying Cargo) Int’l Transp., Ltd., 545 F.




916412 v_01 \ 122885.0002                       3
Case: 2:05-cv-00976-ALM-TPK Doc #: 178 Filed: 08/24/10 Page: 4 of 6 PAGEID #: 4052




Supp.2d 692, 700-01 (S.D. Ohio 2008). In this case, the Sixth Circuit affirmed this Court’s order

granting Nestlé summary judgment.

         In his Motion for Relief from Judgment, McKenna argues the false representation made

by Nestlé was that Goss’s behavior towards McKenna was based on their prior relationship and

that Goss treated Ellis adversely because Goss believed McKenna and Ellis were romantically

involved. Motion, p. 4 (Doc. #176). The Sixth Circuit determined, “Instead, the evidence shows

that the alleged harassers’ actions towards McKenna were based on personal conflict resulting

from the fact that McKenna had engaged in romantic relationships with them.” Opinion and

Order, p. 2-3, attached hereto as Exhibit B. The Sixth Circuit ruled on this issue and this is now

the law of the case, which bars McKenna from re-litigating this issue.

         In his appellate brief, McKenna states, “…Goss deduced McKenna and Ellis were having

sexual relations.” McKenna App. Br., p. 5. McKenna made the same representations that Nestlé

made---Goss believed Ellis and McKenna were engaged in a sexual relationship. McKenna also

states, “Goss’s now rebuked, adulterated friendship with McKenna escalated Goss’s incessant

harassment of McKenna…” Id. at p. 14. McKenna also stated, “It is only after a relationship

based solely upon Goss,…dictated by Goss at the workplace ended that Goss developed an

insatiable animus towards McKenna, harassing not only McKenna, but also any person of the

opposite sex who may work with or associate with McKenna…”               Reply App. Br., p. 11

[emphasis omitted], attached hereto as Exhibit C. McKenna asserts, “Over two (2) months later,

Goss incessantly stalked and harassed Ellis, Goss’s best friend, but for Ellis’s workplace

association with McKenna, insatiably persecuting Ellis for the alleged demise of Goss’s

relationship with McKenna.”     McKenna App. Br. at p. 14, FN 29 [emphasis in original]. In

short, McKenna asserts that Goss’s harassment stems from him ending their relationship and that



916412 v_01 \ 122885.0002                       4
Case: 2:05-cv-00976-ALM-TPK Doc #: 178 Filed: 08/24/10 Page: 5 of 6 PAGEID #: 4053




this caused Goss to treat Ellis adversely also. The same alleged fraudulent statements made by

Nestlé were made by McKenna. It is perhaps easy for McKenna to forget he made these same

representations given the numerous and voluminous pleadings he has filed that are designed only

to harass Nestlé.

         Even if McKenna now disavows the representation, they were clearly brought before the

appellate court, which bars McKenna from re-litigating these issues. “Nestle’s contention that

McKenna, Goss, and Ellis were ever ‘romantically’ involved is plainly stated, a LIE.”

McKenna’s Reply App. Br., p. 4 [emphasis in original]. McKenna then devotes the next three (3)

pages of his Reply Brief arguing why he and Goss were not involved in a romantic or sexual

relationship. Accordingly, McKenna’s Motion for Relief from Judgment must be denied.

III.     CONCLUSION

         McKenna fails to demonstrate that fraud was committed upon the Court. Further, some of

the representations McKenna now claims were fraudulent were also made by McKenna. The

argument related to the characterization of McKenna’s relationship with Goss was brought

before the Sixth Circuit. McKenna simply advances no legitimate arguments in his Motion.

                                                   Respectfully submitted,

                                                   Roetzel & Andress, LPA

                                                   /s/ Brian E. Dickerson
                                                   Brian E. Dickerson (#0069227)
                                                   Jonathan R. Secrest (#0075445)
                                                   155 E. Broad Street
                                                   National City Center, 12th Floor
                                                   Columbus, OH 43215
                                                   Telephone: (614) 463-9770
                                                   Facsimile: (614) 463-9792
                                                   bdickerson@ralaw.com
                                                   jsecrest@ralaw.com
                                                   Attorneys for the Defendant



916412 v_01 \ 122885.0002                      5
Case: 2:05-cv-00976-ALM-TPK Doc #: 178 Filed: 08/24/10 Page: 6 of 6 PAGEID #: 4054




                                   CERTIFICATE OF SERVICE

         I hereby certify that on August 24, 2010, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system, and electronically served Plaintiff Kevin

McKenna with the foregoing document:

                   Kevin H. McKenna
                   4885 Adamsville Road, Zanesville, Ohio 43701
                   KMCKENN@columbus.rr.com
                   Pro Se Plaintiff

                                              /s/ Brian E. Dickerson
                                              Brian E. Dickerson (#0069227)




916412 v_01 \ 122885.0002                        6
